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Case 6:19-bk-13257-MW   Doc 1 Filed 04/17/19 Entered 04/17/19 14:06:52   Desc
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Case 6:19-bk-13257-MW   Doc 1 Filed 04/17/19 Entered 04/17/19 14:06:52   Desc
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